                    Exhibit 14
Case 2:23-cv-00071-TRM-JEM Document 221-14 Filed 06/15/24 Page 1 of 4 PageID #:
                                    4657
                                                            Advocates for Survivors of Abuse Mail Voicemail

    From: Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>
    Sent: Tuesday, November 28, 2023 2:40:37 PM
    To: Svolto, Anne-Marie (USATNE) <Asvolto@usa.doj.gov>
    Subject: [EXTERNAL] Voicemail

    [Quoted text hidden]



  Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>                                                     Tue, Nov 28, 2023 at 12:18 PM
  To: "Svolto, Anne-Marie (USATNE)" <Anne-Marie.Svolto@usdoj.gov>

    Hi Annie,

    Thanks for the quick reply. I have a call that will likely end around 4:45 Eastern. Would that work? I can try you as soon as
    I am free.

    -Vanessa
    [Quoted text hidden]



  Svolto, Anne-Marie (USATNE) <Anne-Marie.Svolto@usdoj.gov>                                                   Tue, Nov 28, 2023 at 12:30 PM
  To: Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>

    Sure. That’s fine.

    Annie

    Annie Svolto
    Assistant United States Attorney
    800 Market St., Ste. 211
    Knoxville, TN 37902
    865-545-4167 (main line)
                   (direct line)
                   (cell)


    From: Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>
    Sent: Tuesday, November 28, 2023 3:18:30 PM
    To: Svolto, Anne-Marie (USATNE) <Asvolto@usa.doj.gov>
    Subject: Re: [EXTERNAL] Voicemail

    [Quoted text hidden]



  Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>                                                      Tue, Nov 28, 2023 at 2:29 PM
  To: "Svolto, Anne-Marie (USATNE)" <Anne-Marie.Svolto@usdoj.gov>

    Hi Annie,

    Here is the letter I referenced. I'll be in touch with Reanna about getting the voicemail from Ms. Female 8 collected.

    Thank you,
    Vanessa
    [Quoted text hidden]


          Finney Letter 11.13.2023.pdf
          1276K




         Case 2:23-cv-00071-TRM-JEM Document 221-14 Filed 06/15/24 Page Does
                                                                        2 of 4 000650
                                                                                PageID #:
                                                                      4658thread a r 3617969408542207526&simpl
https //mail google com/mail/u/0/?ik 97e9959266&view pt&search all&permthid                                         sg a r 2192566087046   2/2
Case 2:23-cv-00071-TRM-JEM Document 221-14 Filed 06/15/24 PageDoes
                                                              3 of 4 000651
                                                                      PageID #:
                                    4659
Case 2:23-cv-00071-TRM-JEM Document 221-14 Filed 06/15/24 PageDoes
                                                              4 of 4 000652
                                                                      PageID #:
                                    4660
